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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

JULIA HUBBARD, and KAYLA                          )
GOEDINGHAUS,                                      )
                                                  )
       Plaintiffs,                                )
                                                  )
V.                                                )       CIVIL ACTION NO. SA-23-CA-580-FB
                                                  )
TRAMMELL S. CROW, JR.; BENJAMIN                   )
TODD ELLER; RICHARD HUBBARD;                      )
MELISSA MILLER; JOSEPH BOLIN;                     )
SCOTT WOODS; MRUGESHKUMAR                         )
SHAH; MICHAEL CAIN; COE                           )
JURACEK; PHILIP ECOB; H.J. COLE;                  )
CODY MITCHELL; KURT KNEWITZ;                      )
PAUL PENDERGRASS; RALPH                           )
ROGERS; ROBERT PRUITT; SCOTT                      )
BRUNSON; CASE GROVER; RICHARD                     )
BUTLER; MARK MOLINA; MICHAEL                      )
HYNES, JR.; SHAWN MAYER; JADE                     )
MAYER; RCI HOSPITALITY                            )
HOLDINGS, INC.; INTEGRITY BASED                   )
MARKETING, LLC; STORM FITNESS                     )
NUTRITION, LLC; ULTRA COMBAT                      )
NUTRITION, LLC; ECOLOFT HOMES                     )
LLC; ELEVATED WELLNESS                            )
PARTNERS LLC; DOE INDIVIDUALS                     )
1-20; and DOE COMPANIES 21-30,                    )
                                                  )
       Defendants.                                )

       COURT ADVISORY CONCERNING DISCOVERY AND OTHER MATTERS

       As this case begins, the Court wishes to apprise counsel and the parties of the Court's
expectations concerning the conduct of discovery:

       1.     Subject to matters of privilege, the Court expects the parties to engage in full and open
              discovery, laying all cards on the table with the goal being the early and less expensive
              resolution of this dispute for the benefit of the parties. See generally FED . R. CIV . P.
              26(b)(1) and W. DIST . LOC. R. CV-16 and CV-26 through CV-37.

       2.     There will be no Rambo tactics, acerbic shrillness or other forms of elementary school
              behavior. Simply put: Do not play games.
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3.     Make time for earspace, i.e., talking and listening as opposed to texting and emailing.

4.     If necessary, the Court will require the party wishing to withhold information to present
       those items in camera to the Court. Should it be determined that discovery of those
       items should have been made, the Court will impose appropriate penalties.

5.     The Court observes, and counsel are well aware, that a trial, appeal and reversal and
       remand for new trial would result in each side being aware of the opponent's evidence.
       It would appear to be more efficient and less costly for the clients simply to make early
       in the case, regardless of whether the information is hard copy, computerized, etc.

6.     In this modern environment of artificial intelligence, counsel are reminded of traditional
       obligations of professional responsibility to be honest with the Court and opposing
       counsel, regardless of drafting methodology employed. The signature of counsel on all
       pleadings constitutes an affirmation that all of the pleading contents have been validated
       for accuracy and authenticity.

It is so ORDERED.

SIGNED this 7th day of June, 2023.


                                _________________________________________________
                                FRED BIERY
                                UNITED STATES DISTRICT JUDGE




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